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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )            Case No. CR04-301-MJP
10               Plaintiff,               )
                                          )
11         v.                             )            SUMMARY REPORT OF U.S.
                                          )            MAGISTRATE JUDGE AS TO
12   KRISTINN RAY HENDERSON,              )            ALLEGED VIOLATIONS
                                          )            OF SUPERVISED RELEASE
13               Defendant.               )
     ____________________________________ )
14

15          An evidentiary hearing on a petition for violation of supervised release was held

16 before the undersigned Magistrate Judge on April 10, 2009. The United States was

17 represented by Assistant United States Attorney Darwin Roberts, and the defendant by

18 Michael G. Martin. The proceedings were digitally recorded.

19          The defendant had been charged and convicted of Conspiracy to Distribute Cocaine,

20 in violation on 21 U.S.C. §§ 841 (b)(1)(C) and 846. On or about June 5, 2005, defendant was

21 sentenced by the Honorable Marsha J. Pechman to a term of thirty (30) months in custody, to

22 be followed by three years of supervised release.

23          The conditions of supervised release included the requirements that the defendant

24 comply with all local, state, and federal laws, and with the standard conditions. Special

25 conditions imposed included, but were not limited to, substance abuse program, financial

26 disclosure and search.

     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS
     OF SUPERVISED RELEASE
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01          In a Petition for Warrant or Summons, dated February 18, 2009, U.S. Probation

02 Officer Steven R. Gregoryk asserted the following violations by defendant of the conditions

03 of his supervised release:

04          (1)    Committing the crime of reckless driving and hit and run on or about January

05                 17, 2009, in violation of the standard condition of supervision which states

06                 that the defendant shall not commit another federal, state, or local crime.

07          (2)    Consuming alcohol on or about January 17, 2009, in violation of the special

08                 condition of supervision which states that the defendant shall abstain from the

09                 use of alcohol and/or other intoxicants during the course of supervision.

10          (3)    Failing to be truthful with the probation officer on January 26, 2009, in

11                 violation fo standard condition No. 3.

12          On March 10, 2009, defendant made his initial appearance. The defendant was

13 advised of the allegations and advised of his rights. On April 10, 2009, defendant appeared

14 for an evidentiary hearing on the alleged violations. Defendant admitted to violations 2 and

15 3, and violation 1 as modified:

16          (1)    Committing the crime of reckless driving on or about January 17, 2009, in

17                 violation of the standard condition of supervision which states that the

18                 defendant shall not commit another federal, state, or local crime.

19          I therefore recommend that the Court find the defendant to have violated the terms

20 and conditions of her supervised release as to violations numbers 1, 2, 3 and 4, and that the

21 Court conduct a hearing limited to disposition. A disposition hearing on these violations has

22 been set before the Honorable Marsha J. Pechman on April 22, 2009 at 1:30 p.m.

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     SUMMARY REPORT OF U.S. MAGISTRATE
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01          Pending a final determination by the Court, the defendant has been released, subject

02 to supervision, and subject to an additional appearance bond.

03          DATED this 10th day of April, 2009.

04

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                                                        A
                                                        JAMES P. DONOHUE
                                                        United States Magistrate Judge
06

07

08 cc:      District Judge:              Honorable Marsha J. Pechman
            AUSA:                        Mr. Darwin Roberts
09
            Defendant’s attorney:        Mr. Michael G. Martin
10          Probation officer:           Mr. Steven R. Gregoryk

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     SUMMARY REPORT OF U.S. MAGISTRATE
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